         Case 2:08-cr-00188-FVS     ECF No. 14   filed 12/04/08   PageID.53 Page 1 of 1



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                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7 UNITED STATES OF AMERICA,                      )
 8                                                )
                Plaintiff,                        )      MJ-08-304-1
 9                                                )
              vs.                                 )
10 MARIA DEL CARMEN RIVERA-                       )      Order Granting Motion to
                                                  )      Quash Arrest Warrant on
11 CRUZ, a/k/a Carman Rivera-Cruz,                )
                                                  )
                                                         Complaint

12                 Defendant.                     )
                                                  )
13                                                )
                                                  )
14                                                )

15
16            Upon Motion of Plaintiff, United States of America, to Quash Arrest
17 Warrant for MARIA DEL CARMEN RIVERA-CRUZ, a/k/a Carman Rivera-Cruz,
18      IT IS ORDERED that said Warrant For Arrest be quashed and a summons
19 be issued for MARIA DEL CAREN RIVERA-CRUZ, a/k/a Carman River-Cruz.
20        DATED December 4, 2008.
21
22                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     Order Granting Motion to Quash Arrest Warrant on Complaint
     07mj304ci1-12-4.wpd
